CERTIFICATEOF SERVICE
19 CV 00593 (LCB)(JLW) - Williamson v. Prime Sports Marketing, LLC and Gina Ford

State of New York
8.8:
County of Queens

L, the undersigned, an Attorney duly admitted to practice in the State of New York, duly admitted
to practice in the United States District Court for the Eastern and Southern Districts of New York
and having appeared in the above captioned action by Special Appearance pursuant to the Local
Rule 83.1(d) of this Court, with offices located at 175-61 Hillside Avenue, Suite 205, Jamaica,
New York 11432, affirm and certify as follows under penalties of perjury:

On October 11, 2019, I personally served and filed the within

REPLY MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO
DISMISS PLAINTIFE’S FIRST AMENDED COMPLAINT

[Xi VEA ECF/USING THE CM/ECF SYSTEM to the following persons at the last known
addresses set forth below:

Clerk of the Court Mr. John R. Wester, Esq.
United States District Court Attorney for Plaintiff
Middle District of North Carolina ROBINSON, BRADSHAW&HINSON, P.A.

101 N. Tryon St, Ste. 1900
Charlotte, North Carolina 28246
Telephone: 704.377.2536; Facsimile: 704.378.4000
Mr. Jeffrey S. Klein, Esq.
Attorney for Plaintiff
WEIL, GOTSHAL & MANGES LLP

767 Fifth Avenue
New York, NY 10153
Telephone: 212.310.8790; Facsimile: 212.310.8007

Dated: October 11, 2019
Jamaica, New York

/s/ JOANN SQUILLACE
JOANN SQUILLACE, ESQ.

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